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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------X CASE NO.: 19-42688-CEC
IN RE:

Renee Maslikhov aka Renee Butler
                           Debtor.
------------------------------------------------------X    CHAPTER 11

          ORDER AUTHORIZING RETENTION OF DAHIYA LAW OFFICES, LLC
                  AS BANKRUPTCY COUNSEL TO THE DEBTOR

          Upon the application (the “Application”) of Renee Maslikhov, the debtor and debtor in
possession (the “Debtor”), for authority pursuant to §327(a) of Title 11 of the United States Code
(the "Code") to retain DAHIYA LAW OFFICES, LLC ("DLO") as bankruptcy counsel to the
Debtor, and the affirmation of Karamvir Dahiya, principal of DLO dated May 16, 2019 (the
“Dahiya Affirmation”) and Supplemental Affidavit of Karamvir Dahiya dated May 28 2019 (the
“Supplemental Affidavit”) and it appearing that Karamvir Dahiya is an attorney duly admitted to
practice in this Court, and the Court being satisfied that DLO represents no interest adverse to the
Debtor or to the estate in the matters upon which DLO is to be engaged and that its employment
is necessary and in the best interests of the estate, and it further appearing that and due and proper
notice of the Application and its exhibits having been served by the Debtor upon the twenty (20)
largest unsecured creditors in this case, the Office of the United States Trustee, and all parties who
filed requests for notice, and no objection to the relief requested having been filed with the Court,
it is
          ORDERED, that pursuant to 11 U.S.C. § 327(a) and Bankruptcy Rule 2014, the Debtor
be, and it hereby is, authorized to retain DLO as bankruptcy counsel to represent the Debtor in the
within case under chapter 11 of the Code, nunc pro tunc as at May 1, 2019 on the terms and
conditions in the Application, the Dahiya Affirmation and the Supplemental Affidavit; and it is
further
          ORDERED, that pursuant to 11 U.S.C. § 327(a), DLO shall seek compensation for legal
services and reimbursement of expenses upon the application to the Court, and upon notice and a
hearing pursuant to 11 U.S.C. §§ 330 and 331 and Bankruptcy Rule 2014 and
E.D.N.Y.L.B.R.2014-1 and the Guidelines of the Office of the United States Trustee; and it is
further
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       ORDERED, that prior to any increases in DLO’s rates, DLO shall file a supplemental
affidavit with the Court and provide ten business days’ notice to the Debtors, the United States
Trustee and any official committee, which supplemental affidavit shall explain the basis for the
requested rate increases in accordance with Section 330(a)(3)(F) of the Bankruptcy Code and state
whether the Debtors have consented to the rate increase. The United States Trustee retains all
rights to object to any rate increase on all grounds including, but not limited to, the reasonableness
standard provided for in section 330 of the Bankruptcy Code, and all rates and rate increases are
subject to review by the Court.


NO OBJECTION:
WILLIAM K. HARRINGTON
OFFICE OF THE UNITED STATES TRUSTEE, Region 2

By:    /s/Rachel Wolf
       Rachel Wolf
       Trial Attorney

Dated: New York, New York
       May 29, 2019




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 Dated: Brooklyn, New York                                              Carla E. Craig
        June 25, 2019                                           United States Bankruptcy Judge
